                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              ST. JOSEPH DIVISION

PLAINTIFF A, by his natural mother and            )
general guardian, PARENT A, et al.,               )
                                                  )
               Plaintiffs,                        )
                                                  )
       v.                                         )      Case No. 21-cv-6153-SRB
                                                  )
PARK HILL SCHOOL DISTRICT, et al.,                )
                                                  )
               Defendants.                        )

                                          ORDER

       On November 12, 2021, Plaintiffs filed a Motion for Temporary Restraining Order or in

the Alternative for a Preliminary Injunction. (Doc. #7.) Upon review of the record, the Court

declines to issue a temporary restraining order or preliminary injunction absent notice to

Defendants.    Consequently, it is hereby ORDERED that Plaintiffs effect service upon all

Defendants as required by Federal Rule of Civil Procedure 4. Once Defendants are served, the

Court will set a hearing on the matter.

       IT IS SO ORDERED.
                                                  /s/ Stephen R. Bough
                                                  STEPHEN R. BOUGH
Dated: November 12, 2021                          UNITED STATES DISTRICT JUDGE




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